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                          UNITED STATES DISTRICT COURT
 7
                        CENTRAL DISTRICT OF CALIFORNIA
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      DEBRA STEFANO, SUZI                  ) Case No. CV 10-6202 DSF (JCx)
10    CARMICHAEL, ELIZABETH                )
      STEFANO, IAN HARROWER,               )
11    DANIELA LOPEZ BALBONTIN,             ) JUDGMENT
      LUCAS SCHAFER                        )
12                                         )
                          Plaintiffs,      )
13                                         )
                          v.               )
14                                         )
      CITY OF LONG BEACH, QUINCY )
15    MILES #6300, individually and as a   )
      peace officer JONATHAN               )
16    STEINHOUSER #6060, individually )
      and as a peace officer, NICHOLAS HO )
17    #6316 individually and as a peace    )
      officer, ALFREDO CHAIREZ #10073 )
18    individually and as a peace officer, )
      EDDIE SANCHEZ #10036                 )
19    individually and as a peace officer, )
      SGT. MILTON G. THOMAS #5220, )
20    individually and as a peace officer, )
                                           )
21                        Defendants.      )
      _______________________________ )
22
23
            On November 30, 2012, Plaintiffs DEBRA STEFANO, SUZI CARMICHAEL,
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      ELIZABETH STEFANO, IAN HARROWER, DANIELA LOPEZ BALBONTIN,
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      and LUCAS SCHAFER each entered an enforceable settlement agreement with the
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      defendants. On April 15, 2013, Plaintiff Debra Stefano filed a motion to vacate the
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      settlement agreement over the objections of the remaining plaintiffs and defendants
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      and to set a trial date. On May 28, 2013, the Court denied the motion.
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 1          Therefore, the case is now dismissed with prejudice in accordance with the
 2    terms of the settlement agreement.
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 4    DATED: 6/17/13
 5                                               ____________________________
                                                 The Honorable Dale S. Fischer
 6                                               United States District Judge
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